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The Hon. Richard A. Jones

- UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

ROMAN VALERYEVICH SELEZNEV,

Defendant.

 

 

NO. CR11-070-RAJ

ORDER OF FORFEITURE

THIS MATTER comes before the Court on the United States’ request for an Order

of Forfeiture that would forfeit, to the United States, Defendant Roman Valeryevich

Seleznev’s interest in the following property:

A forfeiture money judgment in the amount of $17,886,971.09 in United States

funds.

The Court, having reviewed the papers and pleadings filed in this matter, including
the parties’ sentencing memoranda (Dkt. Nos. 464, 466, 467 & 468), hereby FINDS entry

of an Order of Forfeiture is appropriate because:

e On August 25, 2016, the jury found the Defendant guilty of:

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U.S. v. Seleznev, CR11-070-RAT

UNITED STATES ATTORNEY
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© Wire Fraud, in violation of 18 U.S.C. §§ 1343 and 2 (Counts 1-10);
© Intentional Damage to a Computer, in violation of 18 U.S.C.
§§ 1030(a)(5)(A), 1030(c}(4)\(B)H), and 2 (Counts 12-19);
o Obtaining Information from a Computer Without Authorization, in
violation of 18 U.S.C. §§ 1029(a)(2) and 1029(a)(3) (Counts 21-29); and,
o Access Device Fraud — Unlawful Possession of Access Devices, in
violation of 18 U.S.C. §§ 1029(a)(3),1029(c)(1)(A)G), and 2 (Counts
30-38) (Dkt. No. 422);
Proceeds traceable to Wire Fraud are forfeitable pursuant to 18 U.S.C.
§ 982(a)(2);
Proceeds traceable to Intentional Damage to Computer are forfeitable
pursuant to 18 U.S.C. §§ 982(a)(2)(B) and 10300)(1)(B);
Proceeds traceable to Obtaining Information from a Computer Without
Authorization are forfeitable pursuant to 18 U.S.C. § 982(a)(2)(B);
Proceeds traceable to Access Device Fraud — Unlawful Possession of
Access Devices are forfcitable pursuant to 18 U.S.C. § 982(a)(2)(B);
In its Second Superseding Indictment, the United States gave notice of its _
intent to seek a money judgment reflecting the proceeds the Defendant
obtained from these offenses (Dkt. No. 90);
The evidence at trial established the Defendant received at least
$17,886,971.09 in proceeds from his commission of these offenses, through
his sale of stolen credit card data (Trial Exhibit 9.11; Trial Transcript at
725-726); and,
Fed. R. Crim. P. 32.2(c)(1) provides “no ancillary proceeding is required to

the extent that the forfeiture consists of a money judgment.”

NOW, THEREFORE, THE COURT ORDERS:

1) Pursuant to the guilty verdicts returned against the Defendant, 18 U.S.C.

Order of Forfeiture - 2 UNITED STATES ATTORNEY
U.S. v. Seleznev, CR11-070-RAJ 700 STEWART STREET, SUITE 5220

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§§ 982(a)(2), 982(a)(2)(B), and 1030(i)(1)(B), the Defendant’s interest in the above-
identified money judgment is fully and finally forfeited, in its entirety, to the United
States;

2) No right, title or interest in the money judgment exists in any party other than
the United States;

3) Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)-(B), this Order will become final as
to Defendant at the time he is sentenced; it will be made part of the sentence; and, it will
be included i in the Judgment; .

4) In order to satisfy the money judgment in whole o or in part, the United States
may move to amend this Order at any time, pursuant to Fed. R. Crim. P. 32.2(e), to
substitute property not to exceed a cumulatively value of $17,886,971.09; and,

5) The Court shall retain jurisdiction for the purpose of enforcing and amending
this Order, as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

IT IS SO ORDERED.

 

DATED this Ura of ____, 2017.

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“TYIE HON. RICHARD A.VONES
UNITED STATES DISTRICT JUDGE

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Order of Forfeiture - 3 UNITED STATES ATTORNEY

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Presented by:

WAIORMAN M. BARBOSA ~

Assistant United States Attorney

 

   
   

 

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MWWEICHELLE JENSENSWSBA #36611

Assistant United States Attorney

 

 

Order of Forfeiture - 4 : UNITED STATES ATTORNEY

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